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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA,
Plaintiff, NOTICE OF MOTION
Case No. 00-CR-009S
VS.
PETER GERACE and
MICHAEL GEIGER,

Defendants.

 

COMES NOW the defendant, PETER GERACE, by and through his attorneys,
LIPSITZ, GREEN, FAHRINGER, ROLL, SALISBURY & CAMBRIA LLP, PAUL J. CAMBRIA,
JR., ESQ., and MICHAEL P. STUERMER, ESQ., of counsel, and JOSEPH LaTONA, ESQ. on
behalf of MICHAEL GEIGER, and upon the annexed affidavit of Michael P. Stuermer., Esq.,
hereby moves this Court for an extension of time within which to file submissions relating to the
request for a downward departure pursuant to §5K2.0 based on the defendants’ positions in their

businesses are extraordinary.

DATED: June 5, 2006
Respectfully submitted,

LIPSITZ, GREEN, FAHRINGER,
ROLL, SALISBURY & CAMBRIA LLP

By s/Michael P, Stuermer
MICHAEL P. STUERMER, ESQ.

PAUL J. CAMBRIA, JR. ESQ.
MICHAEL P. STUERMER, ESQ.
Counsel for Defendant,

PETER GERACE

Office and Post Office Address

42 Delaware Avenue, Suite 300
Buffalo, New York 14202-3901
(716) 849-1333

mstuermer@lglaw.com
TO:

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TERRANCE P. FLYNN, ESQ.

United States Attorney

138 Delaware Avenue

Buffalo, New York 14202

Attn: ANTHONY M. BRUCE, ESQ.
Assistant United States Attorney
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

UNITED STATES OF AMERICA,

Plaintiff,
AFFIDAVIT OF
MICHAEL P, STUERMER
AND SUPPORT OF
NOTICE OF MOTION
vs.
PETER GERACE and
MICHAEL GEIGER,
Defendants.

 

MICHAEL P. STUERMER, ESQ., being duly sworn, deposes and says:

1. I am an attorney at law duly licensed to practice in the State of New York
and I am a senior partner with the law firm of Lipsitz, Green, Fahringer, Roll, Salisbury &
Cambria, LLP. Paul J. Cambria, Jr., Esq., and I represent the defendant, Peter Gerace, herein.

2. As the Court is aware, sentencing in this matter is scheduled for June 26,
2006.

3. The Court will recall that both Mr. Gerace’s and Mr. Geiger’s plea
agreements permitted their respective defense counsel the opportunity to move for a departure
pursuant to §5K2.0 on the basis that their positions in their businesses are extraordinary.

4, Because defense counsel requires additional time to research and draft
submissions as well as gather further documentary proof in support of the departure motions, we

respectfully request that the Court permit the parties until June 14, 2006 to file their respective
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papers on the issue. The Court will recall that defense counsel will also be filing memorandums
on June 14" on the issue of restitution.

5. It should be noted that Joseph M. LaTona, Esq. (counsel for Michael
Geiger) joins in the aforementioned request and Assistant United States Attorney Anthony Bruce

has no objection to this request.

WHEREFORE, counsel respectfully request that the Court rule accordingly.

3/Michael P. Stuermer
MICHAEL P. STUERMER, ESQ.

Sworn to before me this
5th day of June, 2006,

s/Kelly Mahoney

Kelly Mahoney

Commissioner of Deeds

State of New York

Qualified in Erie County

My Commission Expires Dec. 31, 2006
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

 

UNITED STATES OF AMERICA,
Plaintiff,
vs. Case No. 00-CR-0098
PETER GERACE and
MICHAEL GEIGER,
Defendant.
CERTIFICATE OF SERVICE

I hereby certify that on June 5, 2006 I electronically filed defendant’s Motion requesting an
extension of time within which to file submissions relating to the request for a downward departure
pursuant to §5K2.0 based on the defendants’ positions in their businesses are extraordinary on
Behalf of the Interested parties with the Clerk of the District Court using the CM/ECF system.

I hereby certify that on June 5, 2006 a copy of the foregoing was also delivered to the
following using the CM/ECF System.

HON. WILLIAM M. SKRETNY
United States District Court, 68 Court Street, Buffalo, New York 14202

ANTHONY BRUCE, ESQ., ASSISTANT UNITED STATES ATTORNEY
138 Delaware Avenue, Buffalo NY 14202

I hereby certify that on June 5, 2006 a copy of the foregoing was also delivered to the
following via hand delivery.

JOSEPH M, LATONA, ESQ.
716 Brisbane Building, Buffalo, New York 14203

DATED: Buffalo, New York
June 5, 2006

s/Kelly Mahoney
Kelly Mahoney

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